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Saudi Aramco Claim Chart for Infringement on US Patent 8,438,487 Screenshots taken

from www.SaudiAramco.com/en from 12/2/2019 to 12/10/2019

 

Title: Method and system for one-click navigation and browsing of electronic media and their category
structure as well as tracking the navigation and browsing thereof

 

Claim 1: A
system for
navigating
and
browsing
electronic
media,
comprising: a
device
enabling
viewing of
digitally
stored
information,
the device
being
configured to
display at
least portions
ofa
categorization
structure for
substantially
all of a
website
having a
plurality of
nested
cascading
category
levels, each
category level
of the
plurality of
nested
cascading
category
levels

| comprising a
plurality of

 

Saudi Aramco homepage captured on 12/02/2019: https://www.SaudiAramco.com/.

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Fa | Viho we are Creating value Making a difference Pattoering wath us Investors IPO Gagaust gholji | |
soudi aramco

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opportunity

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In the top-band above the image, a search icon “ a “ and six top-level “category titles” of the
site are displayed from left to the right, ending with “Saudi Aramco” and its logo at the right-
end. The six top level category titles are: Who we are, Creating value, Making a difference,
Partnering with us, Investors, and IPO.

Click “Who we are”, a dropdown menu of the nested/cascading subcategory titles appears:

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category titles
of electronic
media content
stored on at
least one
storage
device, each
category title
having a
selectable
link-token to
the stored
content for
said each
category title,
said each
category title
also being
coupled to a
nested
subcategory
structure of
said each
category title,
the nested
subcategory
structure of
said each
category title
comprising
link-tokens of
category titles
wherein said
each category
title and the
category titles
in the
different
plurality of
category
levels are
able to be
browsed
independently
of having to
select and

 

The 1* level subcategory titles are: “Overview”, “Our governance”, and “Mega projects”. The next
level -2™ level subcategory titles nested under these three 1 level subcategory titles are cascading
underneath each of the three 1* level subcategory titles. These structured categorical titles are
embedded with active links and hidden beneath the top-level category titles displayed in the top-band
as described above, present and common to all pages on the site as taught in Patent 8,438,487. The
dropdown menu is only visible for site-user review when called upon by clicking or placing cursor ona
top level category title.

Now click on the top-level category title “Creating value,” the dropdown menu for “Who we are”
disappears, and the menu for “Creating value” appears for user review and selection.

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Now click the 3 top level category title “Making a difference”, the previously displaying
menu for “Creating value” disappears, and the dropdown menu for “Making a difference”

appears:

 

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retrieve the | Now click the “Partnering with us” top level category title, the previously displaying menu -
stored content | for “Making a difference” disappears, and the new dropdown menu for “Partnering with us
for any title appears.

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least one
storage
device, /
wherein the Who we te o c dang 4 ference Partnenng wih us AVESIONS IPO @agsuull gSo}y! Ls |
categorization | |
structure aren Crs
enables a user
viewing
content of
any category
title in the
categorization
structure to
retrieve
content of
any other
category title
in the
categorization
structure
using a single
retrieval
command.

 

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Now click the next top-level category title “Investors,” a dropdown menu appears showing the

next two levels of structured and nested subcategory titles: “Investor overview” and “News and
speeches”. The 2" level subcategories “Reports & presentations”, “Investor Relations

contacts” are nested under the “Investor overview” 1“ level subcategory of “Investors”

category. The 2” nd level subcategories “Financial calendar” and “Subscribe to updates” are

nested under the 1‘ level subcategory “News and speeches” under the top level category

“Investors”:

Claim 22. A € CO # snaaamocon # & &O-
system for coe Ne cesta at fF Sanne Rtn ss Yoore ns Mente dnys ste
tracking the
navigation 2 | Who we ate Coat vane  Makega dlieeace  Partaering veth us MBRMMAAMM 1PO cso sot Nall
and saudi aramco 5
browsing of
electronic
media, and
facilitating
the changing
of navigation
and

browsing A 7a creme MOLL LcsR OTE RCE wd we rae ee
path, the Bor emv ones ee ei Cee sia) ca Nog slg Ea

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system
comprising a
computer
configured to

 

 

 

 

 

 

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display to a
user pages of
content
within an
inter-linked
content
structure
having a
textual table
format
comprising at
least three
category
levels, and to
enable the
user to
retrieve with
one single
retrieval
command any
desired
content page
within the
inter-linked
content
structure
from a
display of
every other
content page
of the inter-
linked
content
structure.

 

Claim 23. A
system for
navigating
and browsing
electronic
media,
comprising: a
device for
viewing of
digitally

 

Now click the next top-level category title “IPO”, a dropdown menu appears underneath it:

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opportunity.

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UV eCMRAL MOMS tN OHTE TE Aca tic)

 

 

 

Each and all category and subcategory titles are embedded with links, each link connecting to
the page containing information related to the category title the link is associated with.
Clicking any category or subcategory title organized and listed in the menus will bring forth
the page linked with the clicked category/subcategory title.

As an example: clicking the “in-house developed technology” 2" level subcategory title in
the dropdown menu shown below under the “Creating value” top-level category, on the right-
most column under the 1“ level subcategory title “Technology development”:

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saudi oramco

 

 

 

 

Causes the page below to be brought forth to display on the display screen:
https://www.saudiaramco.com/en/creating-value/technology-development/in-house-developed-

technologies

 

SS
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stored
information,
the device
being
configured to
display at
least portions
ofa
categorization
tree structure
having a
plurality of
cascading
category lists,
each list of
the plurality
of cascading
category lists
comprising a
plurality of
category titles
to electronic
media content
stored on at
least one
storage
device, each
category title
having a
selectable
link-token to
the stored
content file
for said each
category title,
wherein the
device is
configured to
display one or
more link-
tokens in the
stored content
file for said
each category
title in
response to

 

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Creating value

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Note the “Active One-Click Navigation Tracking String” taught in Patent 8438487 is shown
in the black-color band immediately underneath the top-band displaying the top-level
informational categorical titles:

Home / Creating value / Technology development / In-house technologies

The right-most “sign post” in the string indicates the present page. The 2™ to the right most is the
“sign post” for the prior-page “Technology development” one hierarchical level above/before the
present page and is embedded with an active link, linking to the page. The next-up level to the left of
it is a top-level category page “Creating value,” which can be reached by clicking its icon in the top
band. The next-up is the Homepage, sign post “Home.” By clicking it, the site visitor can reach the
homepage 3-levels up in the hierarchy within just one-click:

https://www.saudiaramco.com/en

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soudi aramco

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placement of
a cursor on
the selectable
link-token of
said category
title without
clicking on or
invocation of
the selectable
link-token of
said category
title, whereby
the system
enables the
category titles
in the
different
plurality of
category lists
to be browsed
independently
of selecting
and retrieving
stored content
files for any
title from the
at least one
storage
device,
wherein the
categorization
tree structure
enables a user
viewing
content of
any category
title in the
categorization
structure to
retrieve
content of
any other
category title
in the
categorization
structure

 

The prior-art requires in this case of being on a present page three hierarchical level below thee
homepage, a viewer/site-visitor to click the “page back— ‘“<” icon” on the upper left corner of
the browser frame three times, each for one hierarchical level up from the present page and
wait each time wait the corresponding pages to load before clicking the “<” icon again.

Return to the “in-house developed technologies” page, and click a link lower down in the page
“Read More” at the end of the write-up about the last listed in-house developed technology
“Tera Powers”. The page below is brought to display in the display screen.

https://www.saudiaramco.com/en/creating-value/technology-development/in-house-developed-
technologies/terapowers

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| a | Creating value 0 Mk oe} ah Hercnes Party ash as Gagauul! gSolji
saudi oramco

in-house developed technologies

TeraPOWERS

 

Home / Creating value / Technology development / In-house technologies / Tera@POWERS

The above “Active One-Click Navigation Tracking String” as instructed by Patent 8438487 is
displaying in a black band immediately under the top-band. The structured and nested category
and subcategory titles for the site are also active and available on this page and other pages.

 

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3 Sewn §Creating value 9 Making a difference Giagauul} gSolji a
soudi aromco

 

 

 

 

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using a single
retrieval
command.

Claim 24. A
system with
one or more
processors
and memory
that enables
digitally
stored
information
to be viewed
on a display
device,
comprising: a
website
comprising a
plurality of
web pages; a
hierarchical
categorization
structure
including a
plurality of
levels of
nested
references for
substantially
all of the web
pages in the
website, a
displayed
categorization
structure that
is viewable in
conjunction
with the
content of
any web page
in the
categorization
structure and
that includes
at least a

 

Click the “Ethics and governance” tab in the middle column of the above dropdown menu, the
page is brought forth to display. The top portion/screen of the page is captured below:

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“soudi aoe

Our corporate governance

Ethics and governance

 

Home / Who we are / Our governance/ Ethics and governance
The above “Active One-Click Navigation Tracking String” as instructed by 8438487 is
displaying in a black band immediately under the top-band.

The embedded structured and nested category and subcategory titles for the entire site are
active and available on this page as in other pages on the site.

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saudi oramco

 

Click the 2"! level subcategory “Oil” in the left-most column under the 1“ level subcategory
“Products”, the oil page is brought forth to the display window.

https://www.saudiaramco.com/en/creating-value/products/oil

 

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subset of the
categorization
structure
references,
such that a
user is able to
retrieve
content of
any other web
page in the
categorization
structure by
selecting
using a single
selection
gesture a
respective
reference in
the displayed
categorization
structure; and
a gateway
symbol
displayed on
at least some
of the
plurality of
web pages for
accessing the
displayed
categorization
structure.

 

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Creating value

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“Home / Creating value / Products/ Oil” is the Active Navigation Tracking String for this

page,
displaying above the image captured for the top screen/portion of the “Oil” page.

Click the “Home” link/sign-post, the page below is brought forth to display.
https://www.saudiaramco.com/en

 

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Legacy of reliability

GUR PRODUCTS

 

 

Aramco Americas, Aramco Europe, Aramco China similarly infringe on this patent, which
many sites of Saudi Aramco subsidiaries have likely also infringed on this patent. Below see the
top portion of the homepages with the top level category titles appearing at the same place as
they appear on the Saudi Aramco website—on all pages, and operating in the same fashion.

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Aramco Americas:
https://americas.aramco.com/en

< CS QQ @ americas.aramco.comsen « % =

News . Careers Contact us + You aréin Aramee Amertcas v

 

i Whoweare Creating value = Making adifference = Partnering with us ae
aramco &

WHO WE ARE

 

Dropdown subcategory menu for category “Who we are” is shown below, which was hidden in the
homepage screen capture shown above, before a viewer/user click the ““Who we are” category title to
call forth its subcategory menu forth to display for preview.

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aramco

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WHO WE ARE

 

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Aramco Europe:
https://europe.aramco.com/

»> ca @ europe.aramco.com Y a S

News - Careers Comacius « You are in Aramca Eurape

Ey Whoweare Creating value = Making adifference — Partnering with us
aramco ei

   

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Aramco Europe

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Dropdown subcategory menu for category “Creating value” is shown below, which was hidden in the
homepage screen capture shown above before a viewer/user click the “Creating value” category title
to call the hidden subcategory menu forth to display.

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News .« Careers Cantactus + You are in 4ramca Eurape +

 

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Aramco China:
https://china.aramco.com/

 

» @ Q  @ chinaaramco.com * & S :

News « Careers Contacts « You are in: Aramco China»

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WHO WE ARE ; rr 7

Dropdown subcategory menu for top-level category “Making a difference” is shown below, which
was hidden in the homepage screen capture shown above, before a viewer/user calls it forth by

clicking “Making a difference.”

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hews + Careers Contact us + Yeu aresa Aramco China v

Es Who we are Creating value CLA er MOL Ceacol glass Partnering with us a -
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8438487: Method and system for one-click navigation and browsing of electronic media and
their category structure as well as tracking the navigation and browsing thereof

Abstract
Method and apparatus facilitate browsing of web pages or other electronic content stored over
a network of remote and/or local storage devices. Browsing is performed without repeated

 

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intermediary clicking and page downloads. Pre-browsing of the category structure is provided
via rolling the cursor from category to category, and level to level, to view each category's sub-
categories, without clicking on a category or downloading web-page(s) linked to the category.
When the user selects the content linked to a particular category, the user invokes the link-
token corresponding to the content to retrieve the content. A dynamic tracking-string with an
embedded one-click nested/cascading category browsing apparatus facilitates returning and/or
changing path during browsing and examination of electronic media, and allows the user to
review more than one path along the category structure while the browser is at a page linked to
any category at any level.

1. A system for navigating and browsing electronic media, comprising: a device enabling
viewing of digitally stored information, the device being configured to display at least portions of a
categorization structure for substantially all of a website having a plurality of nested cascading
category levels, each category level of the plurality of nested cascading category levels comprising a
plurality of category titles of electronic media content stored on at least one storage device, each
category title having a selectable link-token to the stored content for said each category title, said
each category title also being coupled to a nested subcategory structure of said each category title, the
nested subcategory structure of said each category title comprising link-tokens of category titles
wherein said each category title and the category titles in the different plurality of category levels are
able to be browsed independently of having to select and retrieve the stored content for any title from
the at least one storage device, wherein the categorization structure enables a user viewing content of
any category title in the categorization structure to retrieve content of any other category title in the
categorization structure using a single retrieval command.

2. The system according to claim 1, wherein link-tokens of one or more category titles in a first
category level of the plurality of nested cascading category levels are displayed for viewing on a
display device in response to placing a cursor on a starting symbol representing a gateway to viewing
the categorization structure displayed on the display device, without clicking.

3. The system according to claim 2, wherein the link-tokens of one or more category titles in the first
category level are displayed on the display device underneath the starting symbol representing the
gateway to viewing the categorization structure.

4. The system according to claim 2, wherein placing the cursor on one link-token of the link-tokens
of the one or more category titles in the first category level causes the title corresponding to the one
link-token to be changed in appearance and causes a second category level having a second plurality
of titles to be displayed alongside the first category level, the plurality of titles in the second category
level being sub-categories of the category title changed in appearance in the first category level.

5. The system according to claim 4, wherein the titles in the second category level are displayed in a
second listing-area with the titles listed one under the other.

6. The system according to claim 4, wherein placing the cursor on one title of the category titles
displayed in the second category level causes said one title of the category titles displayed in the
second category level to be changed in appearance and causes a third category level having a third
plurality of category titles to be displayed alongside the second category level, the plurality of tides in
the third category level being sub-categories of the changed in appearance title displayed in the
second category level.

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7. The system according to claim 2, wherein the titles in the first category level are displayed in a first
listing-area with the titles listed one under the other.

8. The system according to claim 2, wherein the categorization structure resides with the pages of
media content but is not displayed on the display device with the media content until a browser places
the cursor on the starting symbol.

9. The system according to claim 2, wherein the media content are the pages of a web site.

10. The system according to claim 9, wherein a browser can navigate and browse the different
category titles in the different category levels of the categorization structure without having to down
load a web page from the storage device and without having to navigate back and forth between
different web pages.

11. The system according to claim 9, wherein the categorization structure resides with the web pages
but is not displayed on the display device with the web pages until a browser places the cursor on the
starting symbol.

12. The system according to claim 1, wherein the system has a selectable number of category levels.

13. The system according to claim 1, wherein the system has a selectable number of category titles in
each category level.

14. The system according to claim 1, wherein the system is implemented using software, and wherein
the single retrieval command is a single click.

15. The system according to claim 1, wherein when the cursor is moved from a category level having
a plurality of category titles which are sub-categories of a title in a higher category level, the category
level with the plurality of sub-category titles, and all subsequent category levels cease to be displayed
on the display device.

16. The system according to claim 1, wherein when the cursor is moved from a first category title in a
first category level to a second category title in the first category level, a first plurality of sub-
category titles of the first category title in a second, lower category level ceases to be displayed on the
display device, and a second plurality of sub-category titles of the second category title on which the
cursor now rests is displayed in a second category level on the display device.

17. The system according to claim 1, wherein a browser can browse the categorization structure
independently of any media content displayed on the display device.

18. The system according to claim 1, wherein a browser can navigate and browse the different
category titles in the different category levels of the categorization structure without having to select
and retrieve a page of media content from the storage device and without having to navigate back and
forth between different pages of media content.

19. The system according to claim 1, wherein a browser can navigate back and forth between a
category title in a first category level and a category title in a second category level of the
categorization structure.

20. The system according to claim 1, wherein a browser can move from a first or any category title in
a particular level to any other title in the same level of the categorization structure.

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21. A system of claim 1, wherein the interlinked content structure is hidden from view and a
subcategory structure is not displayed until a cursor rolls over a respective category title.

22. A system for tracking the navigation and browsing of electronic media, and facilitating the
changing of navigation and browsing path, the system comprising a computer configured to display
to a user pages of content within an inter-linked content structure having a textual table format
comprising at least three category levels, and to enable the user to retrieve with one single retrieval
command any desired content page within the inter-linked content structure from a display of every
other content page of the inter-linked content structure.

23. A system for navigating and browsing electronic media, comprising: a device for viewing of
digitally stored information, the device being configured to display at least portions of a
categorization tree structure having a plurality of cascading category lists, each list of the plurality of
cascading category lists comprising a plurality of category titles to electronic media content stored on
at least one storage device, each category title having a selectable link-token to the stored content file
for said each category title, wherein the device is configured to display one or more link-tokens in the
stored content file for said each category title in response to placement of a cursor on the selectable
link-token of said category title without clicking on or invocation of the selectable link-token of said
category title, whereby the system enables the category titles in the different plurality of category lists
to be browsed independently of selecting and retrieving stored content files for any title from the at
least one storage device, wherein the categorization tree structure enables a user viewing content of
any category title in the categorization structure to retrieve content of any other category title in the
categorization structure using a single retrieval command.

24. A system with one or more processors and memory that enables digitally stored information to be
viewed on a display device, comprising: a website comprising a plurality of web pages; a hierarchical
categorization structure including a plurality of levels of nested references for substantially all of the
web pages in the website, a displayed categorization structure that is viewable in conjunction with the
content of any web page in the categorization structure and that includes at least a subset of the
categorization structure references, such that a user is able to retrieve content of any other web page
in the categorization structure by selecting using a single selection gesture a respective reference in
the displayed categorization structure; and a gateway symbol displayed on at least some of the
plurality of web pages for accessing the displayed categorization structure.

25. The system of claim 24, wherein the categorization structure is embedded in substantially all of
the web pages in the website.

26. The system of claim 24, wherein the categorization structure is linked to substantially all of the
web pages in the website.

Aramco Americas and sites of other international subsidiaries also infringe on this patents.

Aramco Trading Company and Aramco Energy Ventures do not use this patented invention
but use the very powerful Auto-Scrolling/Auto-Change patent family. When Saudi Aramco
lawfully license this patented invention for the entire SA conglomerate, all subsidiaries can
lawfully use these superior breakthrough Internet utilization and user-interface technological
inventions.

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